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IHT Training Binder

WELCOME!

On behalf of the Community Services Program,
we would like to welcome you to our team!

We are very happy that you decided to join us in
providing CBHI services to the families of
Southeastern Massachusetts.

In this binder you will find all the training materials
needed to start your journey as an IHT/TT&S/TM

with Fuller Hospital.

Thank you!

Important Program Contacts:

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